23-10063-shl         Doc 56       Filed 02/06/23 Entered 02/06/23 10:24:42                     Main Document
                                                Pg 1 of 2



CLEARY GOTTLIEB STEEN & HAMILTON LLP
Sean A. O’Neal
Jane VanLare
One Liberty Plaza
New York, New York 10006
Telephone: 212-225-2000
Facsimile: 212-225-3999

Proposed Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                          Chapter 11

 Genesis Global Holdco, LLC, et al.,1                            Case No.: 23-10063 (SHL)

                                     Debtors.                    Jointly Administered




 NOTICE OF ADJOURNMENT AND RESCHEDULING OF STATUS CONFERENCE
                  TO FEBRUARY 6, 2023 at 4:30 p.m.


               PLEASE TAKE NOTICE that the status conference in the above-captioned
chapter 11 cases scheduled for February 6, 2023, at 11:00 am (Prevailing Eastern Time) has
been adjourned and shall now be conducted via Zoom on February 6, 2023, at 4:30 pm
(Prevailing Eastern Time) before the Honorable Judge Sean H. Lane, United States Bankruptcy
Judge, United States Bankruptcy Court for the Southern District of New York, 300 Quarropas
Street, White Plains, New York 10601.

              PLEASE TAKE FURTHER NOTICE that parties wishing to appear or be heard
at the status conference should use the eCourt Appearances link on the Court’s website:
https://www.nysb.uscourts.gov/ecourt-appearances. After the deadline to make appearances
passes, the Court will circulate by email Zoom links to those persons who made eCourt
Appearances, using the email addresses submitted with those appearances.

              PLEASE TAKE FURTHER NOTICE that copies of all pleadings filed in these
chapter 11 cases can be viewed and/or obtained: (i) by visiting the Debtors’ case website at

1
        The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis
Asia Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250
Park Avenue South, 5th Floor, New York, NY 10003.
23-10063-shl     Doc 56     Filed 02/06/23 Entered 02/06/23 10:24:42           Main Document
                                          Pg 2 of 2



https://restructuring.ra.kroll.com/genesis/, (ii) otherwise from the Debtors’ proposed notice and
claims agent, Kroll Restructuring Administration LLC, located at 55 East 52nd Street, 17th Floor,
New York, NY 10055, or by calling +1 888-524-2017 or (iii) accessing the Court’s website at
www.nysb.uscourts.gov. Note that a PACER password is needed to access documents on the
Court’s website.



Dated: February 6, 2023              CLEARY GOTTLIEB STEEN & HAMILTON LLP
       New York, New York
                                     /s/ Sean A. O’Neal
                                     Sean A. O’Neal
                                     Jane VanLare
                                     One Liberty Plaza
                                     New York, New York 10006
                                     Telephone: (212) 225-2000
                                     Facsimile: (212) 225-3999

                                     Proposed Counsel for the Debtors
                                     and Debtors-in-Possession
